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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


AYMAN SAIED JOUMAA,

              Plaintiff,

       v.                              Civil Action No. 17-2780 (TJK)

STEVEN MNUCHIN, et al.,

              Defendants.


DEFENDANTS’ CONSOLIDATED REPLY MEMORANDUM IN SUPPORT OF THEIR
 MOTION TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT
 AND MEMORANDUM IN OPPOSITION TO PLAINTIFF’S CROSS-MOTION FOR
                        SUMMARY JUDGMENT
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                                       INTRODUCTION

       Defendants’ motion to dismiss or, in the alternative, for summary judgment established

that the Office of Foreign Assets Control (“OFAC”) reasonably concluded, based on the

information available to the agency, that Plaintiff Ayman Saied Joumaa (“Joumaa”) plays a

significant role in international narcotics trafficking pursuant to the Foreign Narcotics Kingpin

Designation Act (“Kingpin Act”), and that therefore his request to be removed from the

Specially Designated Nationals and Blocked Persons (“SDN”) List should be denied. See ECF

No. 10-1 (“Defs.’ Mem.”) at 14-23. It also explained that OFAC’s disclosures to Joumaa more

than adequately apprise him of the basis of OFAC’s decision. See id. at 23-31. Neither the Fifth

Amendment—which Joumaa has no standing to invoke—nor the Administrative Procedure Act

(“APA”) requires more.

       The arguments advanced by Joumaa in his consolidated opposition and cross-motion for

summary judgment, ECF Nos. 11, 12 (collectively “Pl.’s Mem.”), do not establish otherwise.

Although Joumaa claims that OFAC improperly relied on credibility determinations and other

evidence insufficient to demonstrate that Joumaa currently meets the criteria for designation

under the Kingpin Act, his argument depends on misapprehensions and mischaracterizations of

OFAC’s decision, as well as a misunderstanding of the APA’s requirements. Notwithstanding

the classified and law enforcement sensitive information that further supports OFAC’s decision,

the unclassified and non-privileged record alone establishes a rational basis for the agency’s

determination that Joumaa continues to warrant designation as a Specially Designated Narcotics

Trafficker (“SDNT”). And while Joumaa continues to press his challenge under the Fifth

Amendment, he has conceded that he lacks standing to bring such a claim, which, in any event,

fails on the merits given the extent of information released to him, including multiple non-



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privileged and unclassified summaries of otherwise privileged information. Similarly, Joumaa’s

new claim under 5 U.S.C. § 555(e) is neither properly before the Court nor persuasive.

Defendants’ motion to dismiss or for summary judgment should therefore be granted, and

Joumaa’s cross-motion for summary judgment should be denied.

                                           DISCUSSION

I.     Joumaa Has Failed To Establish That OFAC’s Decision Denying His Delisting
       Request Is Arbitrary And Capricious Or In Excess Of Its Statutory Authority

       Joumaa claims that the Court should set aside OFAC’s denial decision because that

decision fails to comport with the APA’s requirements. Pl.’s Mem. at 16-28.1 Specifically, he

argues that OFAC improperly based its decision on credibility determinations, as well as

information that is not current or that lacks a sufficient nexus to narcotics trafficking. See id.

These arguments are without merit.

       A.      OFAC Properly Considered The Credibility Of Evidence Before The Agency

       First, Joumaa challenges OFAC’s ability to rely on credibility determinations in reaching

a decision regarding his delisting request. See id. at 15-17, 19-21, 23, 27. As an initial matter,

however, Joumaa mischaracterizes OFAC’s decision in suggesting that the agency “denied

Plaintiff’s reconsideration request and determined that Plaintiff continues to meet the criteria for

designation under the Kingpin Act on the basis of a credibility determination regarding

Plaintiff’s representations during the reconsideration matter.” Id. at 15. OFAC expressly based



1
  Joumaa acknowledges that, pursuant to the APA, a court must uphold an agency’s decision so
long as it is supported by a rational basis. Pl.’s Mem. at 14-15. He nevertheless asserts that, in
considering an APA claim, “[a] court’s review should be no different in cases involving U.S.
national security or foreign policy.” Id. at 15. Joumaa is incorrect. The Supreme Court and
courts within the D.C. Circuit have consistently held that cases involving national security and
foreign policy warrant heightened deference to an agency’s decision. E.g., Holder v.
Humanitarian Law Project, 561 U.S. 1, 33-34 (2010); Holy Land Found. for Relief & Dev. v.
Ashcroft, 219 F. Supp. 2d 57, 84 (D.D.C. 2002), aff’d, 333 F.3d 156 (D.C. Cir. 2003).
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its denial decision on its determination that Joumaa continues to meet the criteria for designation

under the Kingpin Act, not simply that he lacks credibility:

                According to information available to OFAC, JOUMAA continues to meet the
                criteria for designation as an SDNT pursuant to the Kingpin Act. Information
                available to OFAC indicates that JOUMAA continues to play a significant role in
                international narcotics trafficking. Therefore, JOUMAA’s reconsideration
                request and removal from the SDN List should be denied.

A.R. at 17; see also id. at 1612 (explaining that OFAC reached its decision “[a]fter reviewing all

of the evidence before OFAC, including the information that [Joumaa] provided, and law

enforcement sensitive, classified, and open source information”).

        The specific sections of OFAC’s evidentiary memorandum highlighted by Joumaa are

not to the contrary. See Pl.’s Mem. at 19, 23. In Section IV of that memorandum, OFAC

considered “the information available to OFAC”—including “JOUMAA’s responses to the

questionnaire provided by OFAC, as well as the additional documents, arguments, and evidence

he provided”—and determined that “JOUMAA’s arguments fail to demonstrate a basis for

removal from the SDN List.” A.R. at 4. Subsection 2 of Section IV includes information

establishing that “JOUMAA continues to be involved in money laundering activities, and his

claims to the contrary are not credible.” Id. at 7. Given the information pertaining to Joumaa’s

money laundering activities, Joumaa has no basis to assert that “Subsection 2 is directed at

attacking Plaintiff’s credibility” and “does not show (and does not even purport to show) that

Plaintiff ‘continues to be involved in money laundering activities’ in support of narcotics

trafficking.” Pl.’s Mem. at 23 (quoting A.R. at 7); see also 21 U.S.C. § 1907(3) (defining

“narcotics trafficking” in part as “any illicit activity to . . . finance. . . narcotic drugs, controlled




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substances, or listed chemicals, or otherwise endeavor or attempt to do so, or to assist, abet,

conspire, or collude with others to do so”).2

       Joumaa fares no better in attempting to characterize Section IV.3 of the evidentiary

memorandum as improperly “reliant on . . . credibility determinations.” See Pl.’s Mem. at 19.

That subsection concerns Joumaa’s relationships with previously designated SDNs, including

Pedro Claver Mejia Salazar, who “laundered narcotics proceeds on behalf of La Oficina de

Envigado.” A.R. at 9-12. In the administrative reconsideration process, Joumaa represented to

OFAC that he had a business relationship with Salazar but “did not admit that he engaged in any

illicit activities such as money laundering with or on behalf of [Salazar].” Id. at 9; see also id. at

113, 1613. But OFAC obtained other evidence that Salazar “worked with JOUMAA as part of

his global drug money laundering operations.” Id. at 10; see also id. at 1537-41 (describing

Salazar’s illicit activities, and explaining that “Salazar and his network work closely with

Lebanese-Colombian drug money launderer Ayman Saied Joumaa” and “[o]peratives of La

Oficina de Envigado have tapped into Ayman Joumaa’s international networks and successfully

moved drug proceeds back to traffickers in Colombia from locations around the world”), id. at

1617 (“Ayman JOUMAA is a contact for Black Market Peso Exchange (BMPE) broker Pedro

Clavel Mejia-Salazar in laundering drug proceeds.”). This evidence therefore both supports the

agency’s finding that Joumaa engaged in narcotics trafficking and casts doubt on the credibility

of Joumaa’s self-serving representations, further bolstering OFAC’s conclusion that Joumaa’s

delisting request should be denied. See id. at 9-10.




2
 Because most of the evidence in Section IV.2 is redacted as either classified or law
enforcement sensitive information, see A.R. at 7-9, Joumaa’s assertion about what Subsection 2
“show[s]” or “even purport[s] to show,” Pl.’s Mem. at 23, is necessarily speculative.
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       Moreover, Joumaa’s broader suggestion that OFAC cannot make credibility

determinations in evaluating a delisting request finds no basis in law or logic. According to

Joumaa, “credibility (or alleged lack thereof) is not [] a factor that Congress intended Defendants

to consider in designating a party under 21 U.S.C. § 1904(b)(4).” Pl.’s Mem. at 15. He notably

offers no legal support for this proposition, see id., perhaps because it has long been established

not only that agencies may make credibility determinations when weighing evidence before

them, but also that courts must accord particular deference to those determinations, see D.C.

Transit Sys., Inc. v. Wash. Metro. Area Transit Comm’n, 466 F.2d 394, 414 (D.C. Cir. 1972)

(“Credibility determinations within the agency’s sphere of expertise are peculiarly within its

province, and courts will upset them only if made irrationally.”); Bean Dredging, LLC v. United

States, 773 F. Supp. 2d 63, 81 (D.D.C. 2011) (“[A]bsent clear error, ‘an agency’s credibility

decision normally enjoys almost overwhelming deference.’” (quoting Sasol N. Am. Inc. v. Nat’l

Labor Relations Bd., 275 F.3d 1106, 1112 (D.C. Cir. 2002))).

       Credibility determinations made by OFAC in the context of administering the sanctions

program are no exception. Thus in Zevallos v. Obama, the district court and D.C. Circuit

declined to find OFAC’s denial decision arbitrary and capricious where the agency made

credibility determinations with which the SDNT disagreed. 10 F. Supp. 3d 111, 123 n.9 (D.D.C.

2014) (“Mr. Zevallos made these arguments to OFAC, and OFAC concluded that the evidence

before it was credible, as it explained in its 2013 Evidentiary Memorandum. It is not the

province of this Court to reweigh the evidence and reconsider Mr. Zevallos’s arguments on

appeal.” (citations omitted)), aff’d, 793 F.3d 106 (D.C. Cir. 2015). Similarly, in Kadi v.

Geithner, the court held that OFAC’s designation was supported by substantial evidence,

notwithstanding the plaintiff’s argument that “the evidence underlying OFAC’s decision is



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unreliable.” 42 F. Supp. 3d 1, 12-23 (D.D.C. 2012) (emphasizing the “highly deferential review

accorded to OFAC’s decision”). These cases, along with others involving designation

determinations, confirm that an agency may consider “a broad range of evidence” and make

credibility determinations regarding that evidence, and that a court should uphold an agency’s

decision provided it is supported by substantial evidence. See Holy Land Found. for Relief &

Dev. v. Ashcroft, 333 F.3d 156, 162 (D.C. Cir. 2003) (rejecting challenge to OFAC’s use of

hearsay evidence); see also Zevallos, 10 F. Supp. 3d at 123 n.9; Kadi, 42 F. Supp. 3d at 13-23.

Cf. People’s Mojahedin Org. of Iran v. U.S. Dep’t of State, 182 F.3d 17, 19 (D.C. Cir. 1999)

(“Because nothing in the legislation restricts the Secretary from acting on the basis of third hand

accounts, press stories, material on the Internet or other hearsay regarding the organization’s

activities, the ‘administrative record’ may consist of little else.”). While Joumaa may have his

own views regarding the evidence before the agency,3 his disagreement is insufficient to cast

doubt on the reasonableness of OFAC’s decision. See Zevallos, 10 F. Supp. 3d at 123 n.9; see

also Bean Dredging, 773 F. Supp. 2d at 81 (“[T]he inquiry here is a limited one; it is not the

reviewing court’s role to evaluate credibility. Even if the reviewing court could have made a

different choice had the matter been before it de novo, it ‘may not substitute its own judgment for



3
  Joumaa takes particular exception to OFAC’s treatment of his representation that he had no
relationship with the Ellissa Exchange Company. See Pl.’s Mem. at 35 n.12 (citing A.R. at 118).
But OFAC found that Joumaa and his criminal network used the Ellissa Exchange Company to
launder illicit proceeds. A.R. at 67. The non-privileged and unclassified summary of otherwise
privileged information produced to Joumaa on March 9, 2018 elaborates on the evidence
considered by OFAC: “Ayman JOUMAA directed bulk currency pickups and trade based money
laundering via HASSAN AYASH EXCHANGE COMPANY and ELLISSA EXCHANGE
COMPANY. JOUMAA used these entities to transfer funds derived from the proceeds of drug
trafficking to the United States through various used car dealerships. Vehicles are subsequently
purchased and shipped to the Middle East. The proceeds from these activities are later
reinvested in criminal activities.” Id. at 1617. In light of this evidence, OFAC reasonably found
Joumaa’s statements regarding his lack of a relationship with the Ellissa Exchange Company to
be unreliable and insufficient to warrant delisting. Id. at 15-16.
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the agency’s choice between two fairly conflicting views.’” (quoting Siegel v. Secs. & Exch.

Comm’n, 592 F.3d 147, 155 (D.C. Cir. 2010))).

       B.      Substantial Evidence Supports OFAC’s Conclusion That Joumaa’s Illicit
               Activities Are Ongoing

       Second, Joumaa contends that OFAC’s denial decision is inconsistent with the APA’s

requirements because it relies on outdated information. Pl.’s Mem. at 16, 18, 20-21, 25-26.

According to Joumaa, “Defendants do not show that Plaintiff’s activities are current and/or

ongoing, and thus fail to support their finding that he continues to meet the criteria for

designation under the Kingpin Act.” Id. at 16; see also id. at 21 (“The evidence put forth by the

agency is . . . historical in nature[.]”). Joumaa’s challenge regarding the date of the information

considered by OFAC fails on multiple grounds.

       As an initial matter, Joumaa misstates the burden on OFAC imposed by the Kingpin Act

and the APA. While there is no dispute that the Kingpin Act provides for the blocking of assets

of “any foreign person that the Secretary of the Treasury . . . designates as playing a significant

role in international narcotics trafficking,” 21 U.S.C. § 1904(b)(4), neither that statute nor the

APA requires OFAC to produce irrefutable evidence that Joumaa was engaging in narcotics

trafficking on or even near the date the agency reached its denial decision. Cf. Vt. Yankee

Nuclear Power Corp. v. Nat. Res. Def. Council, Inc., 435 U.S. 519, 554 (1978) (“Administrative

consideration of evidence . . . always creates a gap between the time the record is closed and the

time the administrative decision is promulgated [and, we might add, the time the decision is

judicially reviewed].” (alteration in original)). Rather, OFAC must demonstrate only that there is

reason to believe that Joumaa’s illicit activities had not ceased as of the date of the agency’s

denial decision. See Holy Land Found. for Relief & Dev., 333 F.3d at 162 (upholding district

court’s finding of substantial evidence for designation where “[t]here was no plausible evidence

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presented which showed that these ties [between the plaintiff and a terrorist organization] had

been severed”); Zevallos, 793 F.3d at 113-14 (holding OFAC’s denial of delisting request was

not arbitrary and capricious, where the agency “conclude[d] that Zevallos remains of concern to

law enforcement”).

       Zevallos, on which Joumaa primarily relies, Pl.’s Mem. at 28, is illustrative of this point.

There, the SDNT claimed, inter alia, that OFAC’s denial of his delisting request was arbitrary

and capricious “because he is incarcerated in Peru . . . and therefore, by definition, cannot

currently drug traffic, as required by the Kingpin Act.” 10 F. Supp. 3d at 121 (emphasis in

original). Supporting OFAC’s 2013 denial decision were only “(1) 2007 U.S. criminal charges

brought against Mr. Zevallos for violations of the Kingpin Act; (2) the freezing of Panamanian

bank accounts in Mr. Zevallos’s name; (3) 2011 and 2012 Peruvian court activity; (4) newspaper

articles demonstrating Mr. Zevallos’s continued control of his assets despite his current

incarceration; and (5) newspaper articles indicating that Mr. Zevallos was recently found with a

cell phone in his prison cell.” Id.4 Thus, OFAC did not base its denial decision on any direct

evidence that Zevallos himself was engaging in narcotics trafficking on the very date it reached

its decision. See id. The court, noting the “extremely deferential” review applicable “in an area

at the intersection of national security, foreign policy, and administrative law,” nevertheless

found that “OFAC relied on substantial evidence in reaching its determination that delisting Mr.

Zevallos as an [SDNT] was inappropriate.” Id. at 121-22 (citations omitted). In so concluding,

the court emphasized not the date of the information but rather that “the post-designation record




4
 The D.C. Circuit noted that, according to newspaper articles relied on by OFAC, Zevallos also
had a memory stick in prison. 793 F.3d at 112.
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as a whole . . . ‘adequately supports the ultimate decision.’” Id. at 122-23 (citation omitted).

The D.C. Circuit affirmed. Zevallos, 793 F.3d at 113-14.

       In light of Zevallos, Joumaa cannot persuasively argue that the date of information

considered by OFAC demonstrates that the agency’s decision was unsupported by substantial

evidence. First, the evidence relied on by OFAC is by no means outdated. For example, the

agency found that “[a]s of July 2011, a Colombian individual was laundering drug proceeds for

Ayman JOUMAA”; “[a]s of March 2013, a Colombian money launderer, later designated as an

SDNT by OFAC, uses Ayman JOUMAA to launder money in Europe”; “[a]s of 2014, Ayman

JOUMAA is associated with a designated SDNT individual in the pick up of bulk drug proceeds

in Europe to launder to Colombia”; “[a]s of 2016, Ayman JOUMAA oversees money laundering

operations between Lebanon, Colombia, and Venezuela”; “[a]s of June 2016, Ayman JOUMAA

is noted to currently be the leader of a group of money launderers”; and “[a]s of November 2016,

Ayman JOUMAA utilized a shipping company associated with a previously OFAC designated

individual to move money,” and “JOUMAA [] shipped arms and currency in containers through

Europe.” A.R. at 1617. Moreover, and as explained in detail in Defendants’ motion, OFAC also

considered the documents and arguments submitted by Joumaa but found those submissions

insufficient to warrant delisting. See Defs.’ Mem. at 17-19; 31 C.F.R. § 501.807 (placing the

burden on the SDNT to establish that removal from the SDN List is warranted).5 The agency

therefore had a rational basis to conclude that Joumaa’s illicit activities had not ceased and thus

that his delisting request should be denied.




5
  Joumaa mischaracterizes OFAC’s decision in suggesting that the agency treated all his denials
as lacking credibility. Pl.’s Mem. at 34. For example, OFAC expressly accepted, for purposes
of deciding his delisting request, Joumaa’s claims “that the operations of, or his relationship to,
[three] SDN entities . . . ceased after his designation.” A.R. at 1613; see also id. at 15.
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       Nor can Joumaa advance his argument by challenging OFAC’s reference to information

predating his initial designation in 2011. See Pl.’s Mem. at 33 (“To the extent that Defendants

are referring to details regarding OFAC’s initial 2011 designation of Plaintiff, those details are

irrelevant to its determination that Plaintiff continues to meet the criteria for designation under

the Kingpin Act, as they are historical in nature (some over a decade old) and immaterial to

OFAC’s 2018 denial.”); see also id. at 18, 20. First, as Joumaa’s delisting request challenged the

basis of his 2011 designation, see A.R. at 87; see also id. at 131, 139, Joumaa cannot object to

OFAC’s providing him an explanation of that initial decision, id. at 4-7. Additionally, OFAC

may take into account Joumaa’s past narcotics trafficking and money laundering activities when

reaching a decision about whether Joumaa continues to play a significant role in international

narcotics trafficking, as such information is at the very least probative of Joumaa’s networks and

capabilities. See Holy Land Found. for Relief & Dev., 333 F.3d at 162 (“HLF also argues that

Treasury was arbitrary and capricious in relying on information that predated the 1995

designation of Hamas as a terrorist organization. However, as the district court noted, it was

clearly rational for Treasury to consider HLF’s genesis and history, which closely connect it with

Hamas.” (citation omitted)); Zevallos, 10 F. Supp. 3d at 122 (holding OFAC’s denial decision

was supported by a rational basis where it included evidence of SDNT’s “own prior drug

trafficking”), aff’d, 93 F.3d at 113-14 (explaining that OFAC may rely on evidence that “shows

that Zevallos had the capacity to communicate with others,” or that “show[s] that Zevallos

remains in contact with his family and continues to manage his assets”).6 Such historical

information also informs and provides context as to how OFAC assesses the responses Joumaa



6
 This precedent likewise forecloses Joumaa’s argument—unsupported by any citations to legal
authority—that OFAC cannot rely on “historical relationships with certain ‘previously
designated individuals.’” Pl.’s Mem. at 19 (quoting A.R. at 9).
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submitted to its questionnaire, as well as the information he submitted on his own, and is

appropriate for the agency to consider.

       Further, Empresa Cubana Exportadora v. U.S. Department of the Treasury, on which

Joumaa also relies, is inapposite. See Pl.’s Mem. at 15, 21 (citing 516 F. Supp. 2d 43, 53

(D.D.C. 2007)). In that case, the court granted summary judgment to OFAC on two APA claims

and denied summary judgment to both parties on a third APA claim, remanding to the agency to

more fully explain its decision that renewal of a trademark would be prohibited unless

specifically licensed. Empresa Cubana Exportadora, 516 F. Supp. 2d at 54-59. While the court

noted that it must review whether OFAC considered the relevant factors in reaching its decision,

id. at 53-54, the case did not involve an interpretation of the Kingpin Act, let alone a question of

what type of evidence OFAC can rely on in making a designation pursuant to that statute, see id.

at 47-52 (explaining that OFAC’s decision was based on authority in the Trading With the

Enemy Act and the Cuban Asset Control Regulations).

       C.      Substantial Evidence Supports OFAC’s Finding That Joumaa Plays A
               Significant Role In International Narcotics Trafficking

       Joumaa also argues that OFAC’s decision denying his delisting request is arbitrary and

capricious because it is based on Joumaa’s money laundering activities that lack a sufficient

nexus to narcotics trafficking. Pl.’s Mem. at 18, 21-22; see also id. at 25-26 (raising similar

argument in context of § 706(2)(C) claim). Underlying this theory is the premise that each piece

of evidence relied on by the agency must expressly relate to narcotics trafficking. See id. at 22

(noting that certain findings in the non-privileged and unclassified summary of otherwise

privileged information “have no purported connection to narcotics trafficking,” which according

to Joumaa is “required by the Kingpin Act”). This argument is without merit, as neither the

Kingpin Act nor the APA requires what Joumaa demands of OFAC.

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       While the Kingpin Act permits the Secretary of the Treasury to designate foreign persons

“as playing a significant role in international narcotics trafficking,” 21 U.S.C. § 1904(b)(4), it

also broadly defines “narcotics trafficking,” see id. § 1907(3), and places no limits whatsoever

on the types of evidence OFAC may rely on when making designation determinations, see id.

§ 1903(i) (providing that OFAC may base its decision on classified information). See also

People’s Mojahedin Org. of Iran, 182 F.3d at 19 (D.C. Cir. 1999), quoted in Zevallos, 793 F.3d

at 113 (emphasizing that authorizing statute does not restrict the materials agency may consider

in making designation decisions). Moreover, APA review of OFAC’s decision does not require

the Court to evaluate whether each discrete piece of evidence, in isolation, relates to narcotics

trafficking, but rather whether “[a]ll this evidence together provides adequate basis to justify

[OFAC’s] determination.” Zevallos, 793 F.3d at 114. Indeed, the national security and foreign

policy implications of OFAC’s Kingpin Act designations only confirm the need to avoid the

piecemeal review favored by Joumaa. Cf. Holder v. Humanitarian Law Project, 561 U.S. 1, 34-

35 (2010) (“[N]ational security and foreign policy concerns arise in connection with efforts to

confront evolving threats in an area where information can be difficult to obtain and the impact

of certain conduct difficult to assess. . . . In this context, conclusions must often be based on

informed judgment rather than concrete evidence, and that reality affects what we may

reasonably insist on from the Government.”).

       Zevallos is instructive on this point as well. There, the evidence on which OFAC relied

in concluding that Zevallos plays a significant role in international narcotics trafficking consisted

of newspaper reports (including reports that he had a cell phone in prison), foreign court activity,

asset information, and a six-year-old indictment. See 10 F. Supp. 3d at 121-22. Rejecting

Zevallos’s argument that OFAC’s denial decision was arbitrary and capricious because he was



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incarcerated, and therefore could not engage in drug trafficking, the court found that substantial

evidence supported OFAC’s conclusion. Id. at 121-23. In doing so, the court considered the

Kingpin Act’s broad definition of “narcotics trafficking” and the record as a whole, and

concluded that Zevallos’s past involvement with narcotics trafficking, coupled with his ongoing

capability of engaging in narcotics trafficking, provided a rational basis for OFAC’s decision:

               Notwithstanding his current incarceration, Mr. Zevallos is not off the radar, and is
               still able to communicate with family members and other potential drug
               traffickers in order to continue drug trafficking—but equally importantly—to
               continue managing and laundering his ill-gotten proceeds from his prior drug
               trafficking. OFAC thus had substantial evidence—evidence that “adequately
               supports its ultimate decision,” see Fla. Gas Transmission Co. v. FERC, 604 F.3d
               636, 645 (D.C. Cir. 2010) (citation omitted)—to conclude that Mr. Zevallos
               “plays a significant role in international narcotics trafficking,” and therefore that
               delisting him was not appropriate. 21 U.S.C. § 1907(7).

Id. at 122-23; see id. at 121 (“That two narcotics-trafficking inmates, who had previously worked

together, were found with cell phones supports OFAC’s conclusion that delisting Mr. Zevallos

was not appropriate.”); id. at 122 (“he remains in control of assets and many properties

throughout his network”); id. (“That individuals and businesses connected to Mr. Zevallos are

still engaging in narcotics trafficking—despite Mr. Zevallos’s incarceration—thus provides a

rational basis from which OFAC concluded that Mr. Zevallos ‘plays a significant role in

international narcotics trafficking’” (quoting 21 U.S.C. § 1907(7))); id. (“Thus, OFAC relied on

evidence pointing to both Mr. Zevallos’s involvement with drug trafficking itself, as well as his

connection to the laundering and management of assets tied to drug trafficking (including his

own prior drug trafficking), both of which formed a rational basis for OFAC’s decision.”). The

D.C. Circuit affirmed on the same grounds. See 793 F.3d at 113-14 (“[T]his evidence at a

minimum shows that Zevallos had the capacity to communicate with others outside his prison.

And Zevallos does not argue that Treasury could not rely on this evidence in combination with



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other evidence of illegal activity to conclude that he still represents a threat and should remain

designated.”).

       Here, OFAC considered evidence of Joumaa’s own prior drug trafficking and related

money laundering, see A.R. at 4-7, as well as evidence that, subsequent to his designation,

Joumaa has continued to be involved in the laundering of drug proceeds, is associated with other

SDNTs, and oversees international money laundering networks, see id. at 1617. The non-

privileged and unclassified record of Joumaa’s post-designation activities also expressly links

Joumaa to narcotics trafficking. See id. at 1617 (“As of July 2011, a Colombian individual was

laundering drug proceeds for Ayman JOUMAA.”); id. (“As of March 2013, a Colombian money

launderer, later designated as an SDNT by OFAC, uses Ayman JOUMAA to launder money in

Europe.”); id. (“As of 2013, Ayman JOUMAA facilitates money pick-ups in Europe for a

Colombian money launderer, later designated as an SDNT by OFAC.”); id. (“As of 2014,

Ayman JOUMAA is associated with a designated SDNT individual in the pick up of bulk drug

proceeds in Europe to launder to Colombia.”).7 While OFAC considered documents and

arguments submitted by Joumaa, it reasonably concluded that those submissions failed to

establish that Joumaa’s removal from the SDN List is warranted. See id. at 4-16. The record as

a whole thus readily provides a rational basis for OFAC’s conclusion that Joumaa continues to

play a significant role in international narcotics trafficking. See id. at 1-21, 1612-14, 1617.




7
  Joumaa claims that only one finding in the non-privileged and unclassified summary relates to
narcotics trafficking. Pl.’s Mem. at 33. But Joumaa overlooks the information in the summary
linking Joumaa to SDNTs who, by definition, have engaged in activities related to narcotics
trafficking. See A.R. at 1617; 31 C.F.R. § 598.314. And in any event, “[t]he substantial
evidence inquiry turns not on how many discrete pieces of evidence the [agency] relies on, but
on whether that evidence adequately supports its ultimate decision.” Zevallos, 10 F. Supp. 3d at
121 n.8 (citation omitted).


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Accordingly, OFAC’s denial decision is fully consistent with the requirements of the Kingpin

Act and the APA.8

       For these reasons and those previously set forth by Defendants, the Court should grant

summary judgment to Defendants with respect to Counts I, II, and III of Joumaa’s Amended

Complaint.

II.    The Notice Provided By OFAC Accords With The Requirements Of The Fifth
       Amendment And The APA

       Joumaa also claims that OFAC’s decision to deny his delisting request violated his Fifth

Amendment rights and arbitrarily and capriciously deprived him of his property. Am. Compl.

¶¶ 54-58. But Joumaa’s arguments regarding this claim, frequently unsupported by any citations

to binding or persuasive authority, are without merit. Joumaa makes no effort to explain why he

has standing to assert rights under the Fifth Amendment. See Pl.’s Mem. at 30-37. Moreover,

OFAC’s disclosures comply with any requirements the Fifth Amendment may impose, and

similarly meet the agency’s obligations under the APA.

       A.      Joumaa Does Not Have Standing To Assert Constitutional Rights

       In their motion to dismiss or, in the alternative, for summary judgment, Defendants

explained that Joumaa, as a foreign national without sufficient contacts with the United States,

lacks standing to assert rights under the Fifth Amendment. Defs.’ Mem. at 24-25 (citing, inter

alia, Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004)). Joumaa does not address Defendants’

standing arguments. See Pl.’s Mem. at 29-37. Accordingly, the Court should treat Defendants’

uncontested standing argument as conceded, see New Vision Photography Program, Inc. v. D.C.,




8
  Defendants respectfully refer the Court to the classified and privileged information in the
record, which provides further support for OFAC’s decision.


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54 F. Supp. 3d 12, 24 (D.D.C. 2014), and dismiss Joumaa’s Fifth Amendment claim for lack of

subject-matter jurisdiction, see Prisology v. Fed. Bureau of Prisons, 74 F. Supp. 3d 88, 93 (D.D.C.

2014), aff’d, 852 F.3d 1114 (D.C. Cir. 2017).9

       B.      Joumaa’s Fifth Amendment Due Process Argument Fails On The Merits

       Even if the Court were to reach the merits of Joumaa’s Fifth Amendment claim, it should

reject Joumaa’s argument that OFAC’s procedures fail to satisfy due process. According to

Joumaa, “Defendants’ non-privileged and unclassified summary—as well as the broader

administrative record to which it is a part—fails to provide adequate notice to Plaintiff as to the

basis for OFAC’s determination that he continues to meet the criteria for designation under the

Kingpin Act.” Pl.’s Mem. at 31. Joumaa’s argument elides the actual process he was provided

and ignores relevant caselaw.

       First, Joumaa incorrectly suggests that the Court’s inquiry should be limited to reviewing

the redacted evidentiary memorandum and the non-privileged and unclassified summary of

otherwise privileged information provided to Joumaa by OFAC. See id. at 32. Rather, the Court

should also consider OFAC’s letter dated March 2, 2018—not addressed by Joumaa in the

context of his Fifth Amendment argument, see Pl.’s Mem. at 30-37—which extensively

discussed the reasons for OFAC’s conclusion that Joumaa failed to establish an insufficient basis

for the designation or that circumstances have changed such that the designation is no longer




9
 The D.C. Circuit has held that “[u]nder the Federal Rules of Civil Procedure, a motion for
summary judgment cannot be ‘conceded’ for want of opposition.” Winston & Strawn, LLP v.
McLean, 843 F.3d 503, 505 (D.C. Cir. 2016). That case is inapposite, however, because the
question of standing is raised in Defendants’ motion to dismiss pursuant to Rule 12(b)(1), and
because, unlike in Winston & Strawn, Joumaa submitted a timely opposition to Defendants’
motion. See Rojas-Vega v. U.S. Immigration & Customs Enf’t, No. 16-2291 (ABJ), 2018 WL
1472494, at *6 (D.D.C. Mar. 26, 2018).


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warranted. A.R. at 1612-14; see 31 C.F.R. § 501.807.10 In that letter, OFAC explained that,

based on the information available to the agency, it did not find credible Joumaa’s claim that he

is not currently involved in narcotics trafficking, A.R. at 1612; see also id. at 131, 139; that

Joumaa’s “designation was based on reliable and corroborated information that he led a drug

trafficking and money laundering organization moving hundreds of millions of dollars in

narcotics proceeds from the United States to Lebanon,” id. (citing the 2011 indictment against

Joumaa and the affidavit in support of Joumaa’s arrest and criminal complaint); and that

Joumaa’s responses regarding his relationship to previously designated SDNTs—including

Pedro Mejia Salazar and his sons—lacked credibility, id. at 1613; see also id. at 113, 399.

OFAC’s March 2, 2018 letter also addressed the documents submitted by Joumaa, such as

documents from the Banking Control Commission of the Central Bank of Lebanon, as well as

documents concerning the Lebanon-based entities the Hassan Ayash Exchange Company and the

New Line Exchange Trust Co., and the Panama-based entity Goldi Electronics S.A. Id. at 1613.

As OFAC explained, Joumaa’s documents did not rebut OFAC’s evidence regarding these

entities, nor did they address other aspects of Joumaa’s activities that resulted in his designation.

Id.; see also id. at 118, 401, 403-05, 1283-98. OFAC similarly considered, and found

unpersuasive, the varied arguments raised by Joumaa, including his challenge to the reliability of




10
   For the reasons previously set forth by Defendants, the disclosures regarding OFAC’s initial
designation of Joumaa in 2011 further support a finding that OFAC has complied with any Fifth
Amendment requirements. See Defs.’ Mem. at 26-27 (describing administrative record, press
release, press chart, and non-privileged and unclassified summaries provided to Joumaa); see
also A.R. at 27, 34, 36, 66-67, 1617. Although Joumaa claims that these disclosures are
“irrelevant” and “immaterial” to the Court’s analysis of the notice provided by OFAC related to
its 2018 denial decision, see Pl.’s Mem. at 33, as discussed above, such prior disclosures provide
context and are appropriate to consider; they also further inform Joumaa of the agency’s findings
of his prior illicit activities, networks, and capabilities, cf. supra at 10-11. Indeed, Joumaa relies
on OFAC’s 2011 press release in advancing his due process claim. See Pl.’s Mem. at 35.
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OFAC’s evidence and his claim that his designation was based on a mistake of identity. Id. at

1613; see also id. at 139-41.

       The evidentiary memorandum and non-privileged and unclassified summary of otherwise

privileged information further refute Joumaa’s claim that the facts supporting OFAC’s decision

“remain entirely obscure to him.” Pl.’s Mem. at 32; see A.R. at 1-21, 1617. The evidentiary

memorandum rejects Joumaa’s contention that he has never been involved in narcotics

trafficking, detailing the methods, amounts, and locations of his illicit activities. A.R. at 4-7. To

the extent possible—OFAC here relied on classified and law enforcement sensitive

information—it states that he “continues to be involved in money laundering activities,” id. at 7-

9, and that, contrary to Joumaa’s representations to the agency, he engaged in illicit activities

such as money laundering on behalf of Pedro Claver Mejia Salazar, id. at 9-11, and

mischaracterized his relationship with previously designated SDNTs Merhi Ali Abou Merhi,

Atef Merhi Abou Merhi, and Hana Merhi Abou Mehri, id. at 11-12. The evidentiary

memorandum also extensively describes and responds to the documents and arguments

submitted by Joumaa, including his arguments about the reliability of OFAC’s evidence and

information about certain Lebanese legal proceedings, and explains why those submissions are

insufficient to warrant his removal from the SDN List. Id. at 12-16; see also id. at 139, 406-07.11

       Additionally, the non-privileged and unclassified summary does not consist of

“conclusory allegations for which rebuttal is impossible.” Pl.’s Mem. at 32. To the contrary, it




11
  Joumaa does not challenge OFAC’s determination that these foreign legal proceedings are not
probative, see generally Pl.’s Mem., nor could he. See Kadi, 42 F. Supp. 3d at 13 (“[T]he Court
would, in any event, be reluctant to rely on the decisions of other countries based on information
that likely differed from the administrative record compiled by and available to OFAC.
Moreover, these decisions may have been reached under different standards of proof or review,
which further undermines any persuasiveness they would have.”).
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discloses information relied on by OFAC about the methods of Joumaa’s activities, including

bulk drug proceed pick-ups, the use of a shipping company, and the movement of cars

internationally. A.R. at 1617. It also specifies that these activities occurred in Europe,

Colombia, Venezuela, Africa, and the United States. Id. Moreover, the summary provides the

relevant dates of Joumaa’s actions—July 2011 through November 2016—as well as the amount

of money involved: “Ayman JOUMAA . . . is noted to allegedly move $200 million dollars a

month on behalf of a designated entity.” Id. Finally, the summary establishes the role that

Joumaa plays, describing him as “the leader of a group of money launderers.” Id.12

       These disclosures collectively apprise Joumaa “of the government’s view regarding the

basis for [his] designation[], and as such, [he] can meaningfully ‘proffer rebuttal evidence and

arguments to OFAC to contest [his] designation[].’” See Fares v. Smith, 249 F. Supp. 3d 115,

127 (D.D.C. 2017) (quoting Zevallos, 10 F. Supp. 3d at 131), appeal filed, No. 17-5075 (D.C.

Cir. April 17, 2017). They therefore provide sufficient notice under the Fifth Amendment. See

id.; Zevallos, 793 F.3d at 118 (rejecting SDNT’s due process argument where, given the

disclosures provided by OFAC, “[n]othing about the history of this case suggests that Zevallos

has been forced to stumble towards a moving target”).

       Joumaa’s remaining arguments concerning the notice he received, many of which are

focused on OFAC’s redactions of classified or law enforcement sensitive information, likewise

fail to establish a violation under the Fifth Amendment. First, Joumaa appears to argue that he

has been provided inadequate notice because the information redacted from the administrative



12
   Joumaa’s apparent suggestion that OFAC must provide SDNTs with a non-privileged and
unclassified summary of otherwise privileged information is incorrect. See Pl.’s Mem. at 31.
“While courts have recognized that unclassified summaries of classified information on which an
agency relied may be helpful to litigants, they are not required[.]” FBME Bank Ltd. v. Lew, 125
F. Supp. 3d 109, 119 n.2 (D.D.C. 2015).
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record is in the public domain. See Pl.’s Mem. at 32-33. But Joumaa’s claim regarding the

contents of the redacted information is based on nothing more than speculation, as he offers no

reason to believe that such information has been publicly disclosed. See id. Further, the sole

case on which Joumaa relies, Canning v. U.S. Department of Justice, is inapposite; that case

involved a request under the Freedom of Information Act, not an alleged Fifth Amendment

violation, and says nothing about an agency’s compliance with due process. See 567 F. Supp. 2d

85, 93-94 (D.D.C. 2008) (explaining that an agency may not withhold information under FOIA

Exemption 7(C) if that information is already in the public domain).13

       Second, Joumaa suggests that he received inadequate notice because, in his view, the

administrative record is too heavily redacted. See Pl.’s Mem. at 34 (“The fact is that OFAC

provided a redacted administrative record—the redacted portions of which included the entire

section identifying the ‘basis for designation.’”). But for the reasons discussed above, supra at

16-19, the non-privileged and unclassified portions of the record, including OFAC’s March 2,

2018 letter to Joumaa and the March 9, 2018 non-privileged and unclassified summary,

sufficiently inform him of OFAC’s grounds for the denial of his delisting request. Further,

Joumaa overlooks the fact that “disclosure may not always be possible” where, as here, the

agency has redacted information because it is classified or privileged. See FBME Bank Ltd., 125

F. Supp. 3d at 119 n.2 (quoting Al Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 686

F.3d 965, 983 (9th Cir. 2012)). And Joumaa does not oppose Defendants’ position, and so seems

to concede, that he is not entitled to receive such information. See Pl.’s Mem. at 30-38; see also,




13
  Defendants also note that the premise of Joumaa’s argument only detracts from his claim: if
information redacted from the administrative record had already been made available to Joumaa
through OFAC’s public disclosures—which, to reiterate, it has not—he can hardly complain that
he has not received notice of that information.
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e.g., Jifry, 370 F.3d at 1183-84; Zevallos, 793 F.3d at 113; Kadi, 42 F. Supp. 3d at 10, 23-24; Al-

Aqeel v. Paulson, 568 F. Supp. 2d 64, 72 (D.D.C. 2008).

       Nor has Joumaa established that “Defendants’ withholding of the evidentiary bases for its

allegations regarding Plaintiff’s conduct is seriously detrimental to Plaintiff’s opportunity to

provide a meaningful response, particularly insofar as the evidence withheld is used to reject

Plaintiff’s reconsideration petition.” Pl.’s Mem. at 35. The basis for this argument appears to be

Joumaa’s assertion that, other than his ties to the Hassan Ayash Exchange Company, the New

Line Exchange Trust Co., and the Ellissa Exchange Company, OFAC’s 2011 decision did not

describe “‘other aspects of [his] vast drug trafficking and money laundering network.’” Id. at 35

(quoting Defs.’ Mem. at 19). But OFAC’s disclosures provide details beyond Joumaa’s

connections to these three entities. For example, in its 2011 press release OFAC also described

the illicit activities undertaken by Joumaa: “Joumaa has coordinated the transportation,

distribution, and sale of multi-ton shipments of cocaine from South America and has laundered

the proceeds from the sale of cocaine in Europe and the Middle East.” A.R. at 67; see also id. at

34, 36. OFAC explained the methods Joumaa used to launder these proceeds, such as “bulk cash

smuggling operations,” “Lebanese exchange houses,” and “[t]he export of vehicles.” Id. at 27;

see also id. at 36, 67. OFAC further detailed the geographic extent of Joumaa’s operations, id. at

27 (Joumaa exported cars “from the United States to West Africa”), id. at 67 (“Lebanon, West

Africa, Panama and Colombia”); and a specific location—Caesar’s Park Hotel—used to “broker

drug trafficking and money laundering activities,” id. at 67. Additionally, OFAC specified the

amount of money laundered by Joumaa and his organization, id. at 27, 67, and the identities of

Joumaa’s criminal associates and front companies, id. at 66-67, as well as his relationship to

these persons as “the leader” of a drug trafficking and money laundering organization, id. at 27,



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66-67. The details provided in OFAC’s subsequent disclosures, including its non-privileged and

unclassified summary, further demonstrate that Joumaa can adequately respond to OFAC’s

findings. See id. at 1617.

       Third, Joumaa claims that “[b]y failing to identify how the information contained within

the unprivileged and unclassified summary relates to the redacted portions of the evidentiary

memorandum . . . Plaintiff is unable to understand the manner in which OFAC is utilizing this

information to support its findings or its ultimate conclusion.” Pl.’s Mem. at 36. But OFAC has

made clear that it relied on the information in the unclassified summary in determining that

Joumaa continues to warrant SDNT designation. A.R. at 1615. Moreover, as Defendants have

previously explained, the summary represents the extent of information releasable at this time.

See Defs.’ Mem. at 30 (citing A.R. at 1615-17). And Joumaa cites no authority—whether under

Mathews v. Eldridge, 424 U.S. 319 (1976), or any other case—to support his argument that the

interests protected by the government’s national security classifications and privilege assertions

should give way to Joumaa’s desire to learn precisely how OFAC “is utilizing” information on

which it has relied, see Pl.’s Mem. at 36.

       Finally, Joumaa contends that OFAC’s disclosures have denied him a meaningful

opportunity to be heard. Pl.’s Mem. at 31. In light of the correspondence that he submitted and

that OFAC subsequently reviewed, however, Joumaa cannot plausibly claim that he has been

unable to respond to OFAC’s decision to designate him as a SDNT. See A.R. at 87-98, 106-42,

397-410, 1394-1408; Zevallos, 10 F. Supp. 3d at 130 (rejecting argument that Zevallos was not

provided a meaningful opportunity to be heard where “[t]he record shows that OFAC did review

Mr. Zevallos’s submissions and evidence, given that it explained Mr. Zevallos’s arguments and

why those arguments were not persuasive in its 2013 Evidentiary Memorandum”), id. at 131



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(“Mr. Zevallos’s meaningful opportunity to be heard is further evidenced by the 2009

questionnaire OFAC sent to him in response to his renewal of his reconsideration request, and

his opportunity to respond to that.”); Kadi, 42 F. Supp. 3d at 29 (“Kadi’s opportunity to be

meaningfully heard is evidenced by the extensive submissions he made to challenge his

continued designation.”).

       OFAC has thus adequately apprised Joumaa of the basis for its decision to designate him

as a SDNT and its decision to deny his delisting request. He “remains free now to continue

contesting his designation by filing new delisting requests, meaning that he can make any new

arguments that occur to him and reiterate and expand any arguments he felt received short shrift

on [OFAC’s] last review.” Zevallos, 793 F.3d at 117. Even if applicable to Joumaa, which he

has failed to establish, this is all the Fifth Amendment requires. Id.; see also Fares, 249 F. Supp.

3d at 125-28; Zevallos, 10 F. Supp. 3d at 131.

       C.      OFAC Has Adequately Explained The Reasons For Its Decision

       In his opposition and cross-motion, Joumaa also asserts a claim under 5 U.S.C. § 555(e),

arguing that “OFAC’s determination [that he is currently involved in narcotics trafficking] [is]

devoid of detail or indication as to how the agency arrived at this conclusion.” Pl.’s Mem. at 28.

But as an initial matter, Joumaa’s claim under § 555 is not properly before the Court. Count IV

of Joumaa’s Amended Complaint, while referencing 5 U.S.C. § 706, makes no mention of § 555.

See Am. Compl. ¶¶ 54-58. Nor does Joumaa cite § 555 anywhere else in his Amended

Complaint. See generally id. Because “[i]t is well established that a party may not amend its

complaint or broaden its claims through summary judgment briefing,” the Court should dismiss

Joumaa’s claim under § 555. See D.C. v. Barrie, 741 F. Supp. 2d 250, 263-64 (D.D.C. 2010).




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       Joumaa’s claim under § 555(e) also fails on the merits. Section 555(e) requires that an

agency’s notice of denial of a “written application, petition, or other request of an interested

person made in connection with any agency proceeding . . . be accompanied by a brief statement

of the grounds for denial[,]” “[e]xcept in affirming a prior denial or when the denial is self-

explanatory.” This provision of the APA codifies “[a] fundamental requirement of

administrative law [] that an agency set forth its reasons for decision.” Quality Auto. Servs., LLC

v. Pension Ben. Guar. Corp., 960 F. Supp. 2d 211, 221 (D.D.C. 2013) (quoting Tourus Records,

Inc. v. DEA, 259 F.3d 731, 737 (D.C. Cir. 2001) (internal quotation marks omitted)). “The D.C.

Circuit has described the ‘brief statement’ requirement as ‘minimal,’ . . . requiring only that the

agency explain ‘why it chose to do what it did.’” Id. (quoting Butte Cty. v. Hogen, 613 F.3d 190,

194 (D.C. Cir. 2010), and Tourus Records, 259 F.3d at 737); see also Roelofs v. Sec’y of Air

Force, 628 F.2d 594, 601 (D.C. Cir. 1980) (“The requirement of [§] 555(e) is modest. Indeed, it

probably does not add to, and may even diminish, the burden put on an agency by the APA’s

provision for judicial review.”). As Judge Boasberg of this Court has explained, “[t]he agency

explanations that the D.C. Circuit has branded too brief seem to be limited to single, conclusory

sentences” or that “merely parrot[ ] the language of a statute without providing an account of

how it reached its results.” Remmie v. Mabus, 898 F. Supp. 2d 108, 119-20 (D.D.C. 2012)

(citations omitted).

       As explained above, supra at 16-19, OFAC adequately set forth its reasons for denying

Joumaa’s delisting request in its letter dated March 2, 2018, along with the redacted evidentiary

memorandum and non-privileged and unclassified summary of otherwise privileged information

that OFAC subsequently provided to Joumaa. OFAC has thus plainly satisfied the minimal

requirements of 5 U.S.C. § 555(e); see also Zevallos, 10 F. Supp. 3d at 124 (rejecting SDNT’s



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§ 555(e) argument because “[a]long with OFAC’s decision, he also received a memorandum

setting forth the reasons for the denial, with citations to numerous exhibits”).14

       The Court should therefore dismiss Joumaa’s claims in Count IV pursuant to Rule

12(b)(1) or, in the alternative, grant summary judgment to Defendants pursuant to Rule 56.

                                          CONCLUSION

       The Court should grant Defendants’ motion to dismiss or, in the alternative, for summary

judgment, and should deny Joumaa’s cross-motion for summary judgment.

       Dated May 18, 2018                             Respectfully submitted,

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  For the same reasons, OFAC’s explanation satisfies any requirements of § 706. See Nat’l
Shooting Sports Found., Inc. v. Jones, 716 F.3d 200, 214 (D.C. Cir. 2013) (stating that although
“[a]n agency must . . . ‘articulate a satisfactory explanation for its action including a rational
connection between the facts found and the choice made,’” a reviewing court should nonetheless
“uphold a decision of less than ideal clarity if the agency’s path may reasonably be discerned”
(quoting Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).
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